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                                   5                                   UNITED STATES DISTRICT COURT

                                   6                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   8       ROBERT ROSS,                                    Case No. 19-cv-06669-JST
                                                         Plaintiff,
                                   9
                                                                                           SCHEDULING ORDER
                                                  v.
                                  10

                                  11       AT&T MOBILITY, LLC,
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14           The Court hereby sets the following case deadlines pursuant to Federal Rule of Civil

                                  15   Procedure 16 and Civil Local Rule 16-10:

                                  16
                                                                           Event                                     Deadline
                                  17
                                             Deadline to add parties or amend the pleadings1                   June 4, 2020
                                  18
                                             Fact discovery cut-off                                            April 9, 2021
                                  19

                                  20                                                                           To be set by separate
                                             Mediation deadline
                                                                                                               order
                                  21
                                             Expert disclosures                                                April 23, 2021
                                  22
                                             Expert rebuttal                                                   May 28, 2021
                                  23

                                  24         Expert discovery cut-off                                          June 16, 2021

                                  25         Deadline to file dispositive motions                              July 14, 2021

                                  26
                                  27
                                       1
                                  28    After this deadline, a party may still seek amendment, but must demonstrate good cause. Fed. R.
                                       Civ. P. 16(b)(4).
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                                   1                                       Event                                        Deadline

                                   2         Pretrial conference statement due                                   October 29, 2021
                                   3                                                                             November 5, 2021 at
                                             Pretrial conference
                                   4                                                                             2:00 p.m.

                                   5                                                                             November 29, 2021
                                             Trial
                                                                                                                 at 8:00 a.m.
                                   6
                                             Estimate of trial length (in days)                                  Ten
                                   7

                                   8           This case will be tried to a jury.

                                   9           All the parties’ agreements regarding discovery recited in their joint case management

                                  10   statement, ECF No. 35 at 11-12, are adopted as the Court’s order.

                                  11           Counsel may not modify these dates without leave of court. The parties shall comply with

                                  12   the Court’s standing orders, which are available at https://cand.uscourts.gov/judges/tigar-jon-s-jst/.
Northern District of California
 United States District Court




                                  13           The Court has set a dispositive motion deadline which allows enough time for the Court to

                                  14   consider any such motions well in advance of trial. The parties should assume that any subsequent

                                  15   continuance of the dispositive motion deadline, or any enlargement of the dispositive motion

                                  16   briefing schedule beyond that set forth in Civil Local Rule 7-3, will result in a continuance of the

                                  17   pretrial conference and trial dates of equal or greater length.

                                  18           The parties must take all necessary steps to conduct discovery, compel discovery, hire

                                  19   counsel, retain experts, and manage their calendars so that they can complete discovery in a timely

                                  20   manner and appear at trial on the noticed and scheduled dates. All counsel must arrange their

                                  21   calendars to accommodate these dates, or arrange to substitute or associate in counsel who can.

                                  22           Trial dates set by this Court should be regarded as firm. Requests for continuance are

                                  23   disfavored. The Court will not consider any event subsequently scheduled by a party, party-

                                  24   controlled witness, expert or attorney that conflicts with the above trial date as good cause to grant

                                  25   ///

                                  26   ///

                                  27   ///

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                                   1   a continuance. The Court will not consider the pendency of settlement discussions as good cause

                                   2   to grant a continuance.

                                   3          IT IS SO ORDERED.

                                   4   Dated: May 19, 2020
                                                                                     ______________________________________
                                   5
                                                                                                   JON S. TIGAR
                                   6                                                         United States District Judge

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                                  12
Northern District of California
 United States District Court




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